Fi|| in this information to identify your case:

Debtor 1 CBrO| A. Be||iSiri
First Name Middla Name l_ast Narne

Debtor 2
(Spouse, ii islingi Firsi Nama Middle Narne Last Name

 

United Siates Bani<rupicy Court for the; District Of New Mexico

Case number m ChECk if ihlS lS an
l'f*"°W“) amended filing

 

 

 

Officia| Form 108
Statement of intention for individuals Filing Under Chapter 7 ms

 

lf you are an individual filing under chapter '!, you must fill out this form if:

l creditors have claims secured by your property. or

l you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors.
whichever is earlierl unless the court extends the time for cause. You must also send copies to the creditors and lessors you listen the form.
if two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possib|e. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

m l..ist ‘(our Creditors Who Ho|d Secured Claims

 

1. For any creditors that you listed in Fart 1 of Schedui'e D: Creditors Who Hoi'd Ci'aims Secured by Property (Officia| Form 1060), fill in the
information below.

identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?

Credit°r’$ n Surrender the r N

name: Spec:ialized Loan Servicing p openy' o

n Retain the property and redeem it. m Yeg

Descri tion of .
propedpy Retain the property and enter into a
Securing debt Home Reafflrmatlon Agreement.

Cl Retain the property and [exp|ain]:

 

 

CrEdito'-{S Surrender the ro ert . No
name: NatiOnSiar/|V|r.Cooper p p y

|;l Retain the property and redeem it. El Yes
D scri lion f . .
p;pelfy 0 l;l Retain the property and enter into a

Secur§ng debt Reaffi'rmation Agreement.

 

 

 

 

House Cl Retain the property and [exp|aln]:
Credit_°r`$ m Surrender the property. n No
name'_ _ m Retain the property and redeem it. E] Ye$
E;;:Y;|on Of l;l Retain the‘property and enter into a
Securing debt Reafi‘irmatron Agreemem‘.

El Retain the property and [expialn]:

CFedit.O"S m Surrender the property. m No
name: ' m Retairl the property and redeem it. El Yeg
:;Sp(;:_?;'m Df El Retain the-property and enter into a
securing debt: Reaffrrmatlon Agreement.

cl Retain the property and [explain]'_
CaSe 19-10290-t7 DOC 5 Filed OZ/ll/lQ"'"ETiteTed'O?TIl-/IQ_I§ZOTZB`PHQ€ 1 Oi 2

Official Form 108 Statement of intention for individuals Fi|inci Under Chaoter 7 pace ‘l

Your name Caro] A- Be||istri Case number (ii'known}

 

First Name Middle Name Last Nama

m List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066),
till in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 

 

 

 

 

 

Descrihe your unexpired personal property leases Wili the lease be assumed?

i_essor’s name: n NO
m Yes

Description of leased

property:

Lessor’s namer [| No
n Yes

Description of leased

property:

Lessor’s name: C| NO

Description of leased m YB'S

property:

Lessor's name: l;| NO
[:l Yes

Description of leased

property:

Lessor's name: [:| NO

f l;l Yes

Descrlption of leased

property:

Lessor's name: [| NO
m Ye$

Description of leased

property:

Lessor's name: l:| NO
Cl Yes

Descript`ron of ieased
property:

m Sign Below

Under penalty of perjuryl l declare that | have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired |ease.

x deemed x

i aiure of ebtor

 

 

Signaiure of Debtor 2

 
 

Date ;“ Date______
MM/ opi vvvv

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Officia| Form 108 Statement of intention for individuals Filing Under Chapter 7 page 2

